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IN THE UNITED sTATEs DISTRICT CoURT
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FANNIE L. BOLDEN, W!D Dr sellele
Plaintiff,
v. No. 03-2827-B

AAMES FUNDING CORP., et al.,

Defendants.

 

ORDER TO SHOW CAUSE, ORDER REOPENING DISPOSITIVE MOTION
DEADLINE AND ORDER CONTINUING TRIAL

 

On .luly 7, 2005, this Court had scheduled a pretrial conference in this case for a trial
to be conducted on July 18, 2005. At the conference were the attorneys representing the
Defendants, however, no counsel appeared for the Plaintiff, Fannie L. Bolden, although one of
the Defendants’ attorneys indicated that she had spoken with Bolden’s counsel approximately ten
days ago concerning the upcoming pretrial conference. In responding to an inquiry from the
Court concerning attorney Chris Brown’s whereabouts, his office indicated that he was in
another court. Consequently, the Plaintiff is ordered to show cause within eleven (11) days of
the entry of this order why this case should not be dismissed for the Plaintiff’s failure to follow
orders of this Court and for counsel’s failure to appear as directed by the Court. Failure of
Plaintiff’s counsel to respond to this directive may result in this case being dismissed with
prejudice without further notice.

Defendants’ attorneys had previously filed a second motion for summary judgment which

this Court denied on July 5, 2005 based upon its untimeliness The attorneys for Defendants,

 

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Aames Funding Corporation and Aames Home Loan, stated that the Plaintiff had failed to appear
at her deposition, although it had been set two or three times and that they had received no Rule
26 disclosures from the Plaintiff as to her remaining claim. Consequently, Defendants’ attorney
requested the reopening of the dispositive motion deadline to the close of business day on July
8, 2005 in order to resubmit its summary judgment motion. The Court believes that the request
is well taken and therefore the dispositive motion deadline will be reopened to the close of
business on July 8, 2005 ,

At the pretrial conference, the Court advised defense counsel that another case that was
older than this one was presently set for trial on July 18, 2005 and most likely would be tried
that week. Based on the fact that the Court would not be in session most of the following week,
the trial of this case was reset for October 17, 2005, with a pretrial conference to be conducted
on October 12, 2005, at 9:00 a.m. Accordingly, the present trial date of July 18, 2005 is
continued

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1T1s so oRDERED this § day of Juiy, 2005.

dba

UJ DANIEL BREEN \
NIT D sTATEs DIsTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:03-CV-02827 Was distributed by faX, mail, or direct printing on
July l 1, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

